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                         UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

 CONSUMER FINANCIAL                            §
 PROTECTION BUREAU                             §
 and UNITED STATES OF                          §
 AMERICA,                                      §
                                               §
                      Plaintiffs,              §
                                               §
 vs.                                           §                      Case No. 4:23-cv-4729
                                               §
 COLONY RIDGE DEVELOPMENT,                     §                      JURY DEMAND
 LLC, d/b/a Terrenos Houston, Terrenos         §
 Santa Fe, and Lotes y Ranchos; COLONY         §
 RIDGE BV, LLC; COLONY RIDGE                   §
 LAND, LLC, formerly d/b/a Terrenos            §
 Houston and Lotes y Ranchos; and LOAN         §
 ORIGINATOR SERVICES, LLC,                     §
                                               §
                    Defendants.                §


             COLONY RIDGE DEFENDANTS’ ANSWER AND DEFENSES
                       TO PLAINTIFFS’ COMPLAINT


       Defendants Colony Ridge Development, LLC (“Colony Ridge Development”), Colony

Ridge BV, LLC (“Colony Ridge BV”), and Colony Ridge Land, LLC (“Colony Ridge Land”),

(collectively, “Colony Ridge Defendants”) submit the below answer and defenses to the Complaint

(ECF No. 1) filed by Plaintiffs Consumer Financial Protection Bureau and the United States of

America, and respectfully show the Court as follows:

                                    ANSWER TO COMPLAINT

       Under Federal Rule of Civil Procedure 8(d), Colony Ridge Defendants deny the allegations

contained in the Complaint except for those expressly admitted. The headings and numbered

paragraphs below directly correlate to the sections and numbered paragraphs of the Complaint.



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Those titles and headings are reproduced below for organizational purposes only, and Colony

Ridge Defendants do not admit any matter contained therein. For avoidance of doubt, Colony

Ridge Defendants deny all allegations in the unnumbered paragraph preceding the section titled

Introduction. Colony Ridge Defendants submit this answer based on the information and

knowledge available to them as of the time of this filing.

                                       INTRODUCTION

       1.      Denied.

       2.      Admitted that Colony Ridge Development makes vacant lots available for

purchase. The remaining allegations in Paragraph 2 are denied.

       3.      Admitted that Colony Ridge Development and Colony Ridge Land conduct

advertising through Terrenos Houston and Terrenos Santa Fe and that in Spanish, “terrenos”

translates to “lands” or “lots.” Admitted that Colony Ridge Development has conducted

advertising in Spanish and that the advertising has featured regional music and national symbols

from countries such as Columbia, Honduras, Mexico, and Venezuela. The remaining allegations

in Paragraph 3 are denied.

       4.      Denied.

       5.      Admitted that the purchasing process for consumers generally includes an in-person

property visit, a pre-closing, and a closing. The remaining allegations in Paragraph 5 are denied.

       6.      Admitted that borrowers generally must self-report income and provide a down

payment. The remaining allegations in Paragraph 6 are denied.

       7.      Admitted that since 2016, Loan Originator Services, LLC has originated loans by

Colony Ridge Land. Admitted that Colony Ridge Land is recorded as the lender on filings with

the Liberty County Clerk and services the loans. Admitted that Colony Ridge Land retains the




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notes and the right to foreclose on the properties. The remaining allegations in Paragraph 7 are

denied.

          8.    Admitted only that that no title company or outside attorneys are present at closing

and that Colony Ridge Land retains all servicing rights. The remaining allegations in Paragraph 8

are denied.

          9.    Denied.

          10.   Admitted that between September 2017 and September 2022, Colony Ridge Land

recorded at least 28,482 unique transactions. Defendants deny that “Colony Ridge’s targeting of

Hispanics has proven tremendously effective.” Defendants lack sufficient knowledge or

information to form a belief about the truth of the remaining allegations contained in this

Paragraph, and on that basis deny the allegations in their entirety.

          11.   Colony Ridge Defendants deny that because Defendants fail to analyze consumers’

ability to pay, Colony Ridge’s seller-financed mortgages fail at an extraordinary rate. Colony

Ridge Defendants lack sufficient knowledge or information to form a belief about the about the

truth of the remaining allegations contained in this Paragraph, and on that basis deny the allegations

in their entirety.

          12.   Colony Ridge Defendants deny that between January 2022 and June 2023, “Colony

Ridge’s lending arm” initiated an average of 298 foreclosures in Liberty County on a monthly

basis. Colony Ridge Defendants lack sufficient knowledge or information to form a belief about

the truth of the remaining allegations contained in this Paragraph, and on that basis deny the

allegations in their entirety.

          13.   Denied.

          14.   Denied.




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       15.    Denied.

       16.    Paragraph 16 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.

                               JURISDICTION AND VENUE

       17.    Paragraph 16 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.

       18.    Paragraph 17 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.

                                           PARTIES

       19.    Paragraph 19 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.

       20.    Paragraph 20 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.

       21.    Paragraph 21 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.

       22.    The allegation that Colony Ridge Development is registered at PO Box 9799,

Huntsville, TX 77340, is denied. The remainder of the allegations in Paragraph 22 are admitted.




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        23.     Admitted.

        24.     Admitted.

        25.     The allegation that Colony Ridge BV is registered at PO Box 9799, Huntsville, TX

77340, is denied. The remainder of the allegations in Paragraph 22 are admitted.

        26.     The allegation that Colony Ridge Land is registered at PO Box 9799, Huntsville,

TX 77340, is denied. The remainder of the allegations in Paragraph 22 are admitted.

        27.     Admitted.

        28.     Admitted.

        29.     Admitted.

        30.     Colony Ridge Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations contained in this Paragraph, and on that basis deny the allegations

in their entirety.

        31.     Colony Ridge Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations contained in this Paragraph, and on that basis deny the allegations

in their entirety.

                            DEFENDANTS’ BUSINESS PRACTICES

                     Advertising and Marketing Targeted at Hispanic Consumers

        32.     Admitted that in 2011, Colony Ridge Development broke ground on land that

eventually became the Montebello subdivision. Admitted that Montebello, Bella Vista, Rancho

San Vicente, Grand San Jacinto, Camino Real, and Santa Fe each contains more than 100 lots. The

remaining allegations in Paragraph 32 are denied.

        33.     Admitted that Colony Ridge Development markets lots for sale. The remaining

allegations in Paragraph 33 are denied.




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       34.     The allegations in Paragraph 34 are admitted with respect to Colony Ridge

Development, except for the allegation that Colony Ridge Development operates the handle

@terranoshouston2034 on YouTube, which is denied.

       35.     Admitted that Colony Ridge Development primarily uses Spanish to advertise lots

for sale in its six residential subdivisions. Colony Ridge Defendants lack sufficient knowledge or

information to form a belief about the truth of the remaining allegations contained in this

Paragraph, and on that basis deny the allegations in their entirety.

       36.     Admitted only that colonyridge.com, terrenoshouston.com, terrenossantafe.com

and terrenosparkway99.com are websites that the public may visit. The remaining allegations in

Paragraph 36 are denied.

       37.     Admitted that terrenoshouston.com and terrenossantafe.com are available in

Spanish. The remaining allegations in Paragraph 37 are denied.

       38.     Admitted.

       39.     Denied.

       40.      Admitted that advertising for property in Colony Ridge Development’s six

residential subdivisions highlights the opportunities for customers to build lasting, generational

wealth through ownership of land. The remaining allegations in Paragraph 40 are denied.

       41.      Admitted that the advertisements described in Paragraph 41 are similar to

advertisements that Colony Ridge Development has knowledge or information that it has posted

to its social media accounts. Colony Ridge Defendants lack sufficient knowledge or information

to form a belief about the truth of the specific advertisements referenced in this Paragraph, and on

that basis deny the remaining allegations in their entirety.




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          42.   Admitted that the advertisements described in Paragraph 42 are similar to

advertisements that Colony Ridge Development has knowledge or information that it has posted

to its social media accounts. Colony Ridge Defendants lack sufficient knowledge or information

to form a belief about the truth of the specific advertisements referenced in this Paragraph, and on

that basis deny the remaining allegations in their entirety.

          43.   Admitted that the advertisements described in Paragraph 43 are similar to

advertisements that Colony Ridge Development has knowledge or information that it has posted

to Colony Ridge Development’s social media accounts. Colony Ridge Defendants lack sufficient

knowledge or information to form a belief about the truth of the specific advertisements referenced

in this Paragraph, and on that basis deny the remaining allegations in their entirety.

          44.   Admitted that Colony Ridge Defendants have informed consumers that a deposit

and two forms of identification are necessary to make a purchase and that Colony Ridge

Defendants do not check credit scores or histories. The remaining allegations in Paragraph 44 are

denied.

          45.   Admitted.

          46.   Admitted.

          47.   Admitted that the advertisement described in Paragraph 47 is similar to

advertisements that Colony Ridge Development has knowledge or information that it has posted

to its social media accounts. Colony Ridge Defendants lack sufficient knowledge or information

to form a belief about the truth of the specific advertisement referenced in this Paragraph, and on

that basis deny the remaining allegations in their entirety.

                Misrepresentations About Infrastructure Pre-Installed on the Lots

          48.   Denied.




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       49.     Admitted that Colony Ridge Defendants’ websites have included language

regarding water, power and sewer services. The remaining allegations in Paragraph 49 are denied.

       50.     Admitted that Colony Ridge Defendants’ advertising has referenced water, power

and sewer services. The remaining allegations in Paragraph 50 are denied.

       51.     Denied.

       52.     Admitted that terrenoshouston.com has included statements directed to consumers

regarding water, power and sewer services and financing available for vacant lots. The remaining

allegations in Paragraph 52 are denied.

       53.     Denied.

       54.     Denied.

       55.     Denied.

                   Representations of the Lots as Homesites or Building Lots

       56.     Admitted that Colony Ridge Development has represented that lots in its six

residential subdivisions may be used for borrowers to construct personal homes. The remaining

allegations in Paragraph 56 are denied.

       57.     Admitted that the advertisement described in Paragraph 57 is similar to

advertisements that Colony Ridge Development has knowledge or information that it has posted

to its social media accounts. Colony Ridge Defendants lack sufficient knowledge or information

to form a belief about the truth of the specific advertisement referenced in this Paragraph, and on

that basis deny the remaining allegations in their entirety.

       58.     Admitted that the advertisement described in Paragraph 58 is similar to

advertisements that Colony Ridge Development has knowledge or information that it has posted

to its social media accounts. Colony Ridge Defendants lack sufficient knowledge or information




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to form a belief about the truth of the specific advertisement referenced in this Paragraph, and on

that basis deny the remaining allegations in their entirety.

       59.      Admitted that terrenoshouston.com has included statements regarding lots

available for sale. The remaining allegations in Paragraph 59 are denied.

                                   Prize Offers to Induce Visits

       60.      Admitted that Colony Ridge Development has offered customers the potential for

prizes on its social media pages. The remaining allegations in Paragraph 60 are denied.

       61.      Admitted that the advertisement described in Paragraph 61 is similar to

advertisements that Colony Ridge Development has knowledge or information that it has posted

to its social media accounts. Colony Ridge Defendants lack sufficient knowledge or information

to form a belief about the truth of the specific advertisement referenced in this Paragraph, and on

that basis deny the remaining allegations in their entirety.

       62.      Admitted that the advertisement described in Paragraph 62 is similar to

advertisements that Colony Ridge Development has knowledge or information that it has posted

to its social media accounts. Colony Ridge Defendants lack sufficient knowledge or information

to form a belief about the truth of the specific advertisement referenced in this Paragraph, and on

that basis deny the remaining allegations in their entirety.

       63.     Admitted that the advertisement described in Paragraph 63 is similar to

advertisements that Colony Ridge Development has knowledge or information that it has posted

to its social media accounts. Colony Ridge Defendants lack sufficient knowledge or information

to form a belief about the truth of the specific advertisement referenced in this Paragraph, and on

that basis deny the remaining allegations in their entirety.

                    Sales Practices and Seller-Financed Extensions of Credit




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          64.   Denied.

          65.   Admitted that Colony Ridge Land is recorded as the lender on filings with the

Liberty County Clerk and retains the notes and the right to foreclose on properties. The remaining

allegations in Paragraph 65 are denied.

          66.   Admitted that the process of purchasing a lot in one of Colony Ridge

Development’s six residential subdivisions generally includes an in-person property visit. The

remaining allegations in Paragraph 66 are denied.

          67.   Admitted that Colony Ridge Development has sold lots to consumers who resided

outside of Texas at the time of their lot purchase. The remaining allegations in Paragraph 67 are

denied.

                                          A. Property Visit

          68.   Admitted that customers seeking to purchase one or more lots in one of Colony

Ridge Development’s six residential subdivisions generally visit the site with a Colony Ridge

Development salesperson. The remaining allegations in Paragraph 68 are denied.

          69.   Admitted that Colony Ridge Development ensures that customers are addressed in

Spanish if that is the customer’s preference. The remaining allegations in Paragraph 69 are denied.

          70.   Admitted, except for the statement that the consumer’s property visit typically

begins in the Colony Ridge’s New Caney office, which is denied.

          71.   Denied.

          72.   Admitted.

          73.   Denied.

          74.   Admitted that Colony Ridge’s interest rates are determined based on the customer’s

down payment. The remainder of the allegations in Paragraph 74 are denied.




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          75.    Denied.

          76.   Admitted that sales assessors complete a sales card for internal use, which includes

an acknowledgement of a property walkthrough. The remaining allegations in Paragraph 76 are

denied.

          77.   Denied.

          78.   Denied.

          79.   Denied.

          80.   Admitted.

          81.   Admitted.

          82.   Denied.

                                          B. Pre-Closing

          83.   Denied.

          84.   Colony Ridge Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations contained in this Paragraph, and on that basis deny the allegations

in their entirety.

          85.   Admitted only that Colony Ridge Land’s closers are not licensed to provide legal

advice and draft legal documents. The remaining allegations in Paragraph 85 are denied.

          86.   Admitted that the majority of Colony Ridge Land’s closers are not licensed to

originate loans in the State of Texas.

          87.   Admitted that Colony Ridge Land’s closers review the consumer’s two forms of

identification and the sales card.

          88.   Admitted that Colony Ridge Land’s closers do not request or collect any

documentation regarding consumer’s self-reported gross monthly income.




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       89.     Admitted that Colony Ridge Land’s closers do not request or collect any

documentation showing the consumer’s assets, debts, financial obligations, or other liabilities.

       90.     Denied.

       91.     Admitted that Colony Ridge Land’s closers verbally review pre-closing documents

with the consumer in the consumer’s preferred language and collect signatures and initials, if

necessary. The remaining allegations in Paragraph 91 are denied.

       92.     Denied.

       93.     Denied.

       94.     Denied.

       95.     Admitted that Colony Ridge Land’s closers generally set up closing appointments,

which takes place at least eight business days after the pre-closing. The remaining allegations in

Paragraph 95 are denied.

       96.     Admitted that Colony Ridge Land’s closers provide customers with copies of pre-

closing documents. The remaining allegations in Paragraph 96 are denied.

       97.     Denied.

       98.     Denied.

       99.     Admitted that customers return for their closing appointments. The remaining

allegations in Paragraph 99 are denied.

                                            C. Closing

       100.    Admitted that Colony Ridge Land provides customers with closing documents to

sign and initial. The remaining allegations in Paragraph 100 are denied.

       101.    Denied.

       102.    Denied.




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        103.      Denied.

        104.      Denied.

        105.      Admitted that Colony Ridge closers provide documents to customers about the

Houston El Norte Properties Owners Association, Inc., and that customers must provide Houston

El Norte with an annual assessment. The remaining allegations in Paragraph 105 are denied.

        106.      Admitted that lots in Colony Ridge Development’s six residential subdivisions are

subject to a POA declaration of covenant, conditions, and restrictions, and that the declaration is

in English. The remaining allegations in Paragraph 106 are denied.

        107.      Admitted only that the POA declaration of covenant, conditions, and restrictions

contains terms related to permitting. The remaining allegations in Paragraph 107 are denied.

        108.      Admitted.

        109.      Admitted that Colony Ridge Land records the deed of trust and warranty deed with

a vendor’s lien with the Liberty County Clerk.

                       Loan Originator Services’ Role in Extensions of Credit

        110.      Admitted.

        111.      Admitted that Gayle Campbell had an office in the Terrenos Houston office.

Colony Ridge Defendants lack sufficient knowledge or information to form a belief about the truth

of the remaining allegations contained in this Paragraph, and on that basis deny the allegations in

their entirety.

        112.      Denied.

        113.      Colony Ridge Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations contained in this Paragraph, and on that basis deny the allegations

in their entirety.




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        114.     Colony Ridge Defendants lack sufficient knowledge or information to form a

belief about the truth of the allegations contained in this Paragraph, and on that basis deny the

allegations in their entirety.

        115.     Colony Ridge Defendants lack sufficient knowledge or information to form a

belief about the truth of the allegations contained in this Paragraph, and on that basis deny the

allegations in their entirety.

        116.     Colony Ridge Defendants lack sufficient knowledge or information to form a

belief about the truth of the allegations contained in this Paragraph, and on that basis deny the

allegations in their entirety.

        117.     Denied.

          Omissions of Total Estimated Costs of Constructing and Installing Infrastructure to
                                 Connect Utility Services on the Lots

        118.    Denied.

        119.    Denied.

        120.    Denied.

        121.    Denied.

        122.    Denied.

                Hidden Post-Sale Expenses, Foreclosures, and Property-Flipping

        123.    Denied.

        124.    Denied.

        125.    Colony Ridge Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations contained in this Paragraph, and on that basis deny the allegations

in their entirety.




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        126.    Colony Ridge Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations contained in this Paragraph, and on that basis deny the allegations

in their entirety.

        127.    Denied.

        128.    Admitted that consumers have defaulted on their mortgages. The remaining

allegations in Paragraph 128 are denied.

        129.    Admitted that Colony Ridge Land generally initiates non-judicial foreclosures,

which include serving a notice of sale on consumers. The remaining allegations in Paragraph 129

are denied.

        130.    Admitted.

        131.    Denied.

        132.    Denied.

        133.    Admitted that after a property is foreclosed, Colony Ridge Land transfers the

repurchased properties back to Colony Ridge Development. The remaining allegations in

Paragraph 133 are denied.

        134.    Denied.

        135.    Admitted only that the transaction history identified in Table 1 is accurate. Colony

Ridge Defendants lack sufficient knowledge or information to form a belief about the truth of the

allegations related to what Liberty County’s records show, and on that basis deny those allegations

in their entirety. The remaining allegations in Paragraph 135 are denied.

                                        Common Enterprise

        136.    Denied.

        137.    Admitted.




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       138.   Admitted as to subparagraphs (a)-(g). The remaining allegations in Paragraph 138

contain assertions of law, conclusory statements, and/or argument to which no response is

required. To the extent that the remaining allegations of this Paragraph contain any factual

allegations requiring a response, Colony Ridge Defendants deny the allegations.

       139.   Admitted that Colony Ridge Development, Colony Ridge BV, and Colony Ridge

Land all have been registered at the same post office box in Huntsville, Texas. The remaining

allegations in Paragraph 139 are denied.

       140.   Denied.

       141.   Denied.

       142.   Denied.

       143.   Denied.

       144.   Denied.

       145.   Admitted that Colony Ridge Development and Colony Ridge BV have advertised

and marketed using the names “Colony Ridge” and “Terrenos Houston.” The remaining

allegations in Paragraph 145 are denied.

       146.   Admitted that Colonyridge.com’s “Subdivisions” page has advertised and

marketed Colony Ridge Development’s six residential subdivisions. Admitted that the allegations

in Paragraph 146(c) are accurate. Admitted that Terrenoshouston.com has advertised and marketed

Colony Ridge Development’s six residential subdivisions. Admitted that Terrenosparkway99.com

has advertised and marketed Colony Ridge Development’s six residential subdivisions. The

remaining allegations in Paragraph 146 are denied.

       147.   Admitted that Colony Ridge Land has offered collateral, consisting of promissory

notes and liens payable to Colony Ridge Land and secured by properties in Colony Ridge




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Development’s six residential subdivisions, to support Colony Ridge Development’s acquisition

of one or more bank loans. The remaining allegations in Paragraph 147 are denied.

       148.    Paragraph 148 contains assertions of law, conclusory statements, and/or argument

to which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.

                               ILSA Registration with the Bureau

       149.    Admitted.

       150.    Admitted.

       151.    Admitted.

       152.    Admitted.

                                       LEGAL BACKGROUND

                                        ECOA and Regulation B

       153.     Paragraph 153 contains assertions of law, conclusory statements, and/or argument

to which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.

       154.    Paragraph 154 contains assertions of law, conclusory statements, and/or argument

to which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.

       155.     Paragraph 155 contains assertions of law, conclusory statements, and/or argument

to which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.




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        156.      Paragraph 156 contains assertions of law, conclusory statements, and/or argument

to which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.

        157.    Admitted that Colony Ridge Development refers consumers seeking credit to

Colony Ridge Land in the ordinary course of its business. The remaining allegations in Paragraph

157 are denied.

        158.    Denied.

        159.    Colony Ridge Defendants lack sufficient knowledge or information to form a belief

about the truth of the remaining allegations contained in this Paragraph, and on that basis deny the

allegations in their entirety.

        160.    Paragraph 160 contains assertions of law, conclusory statements, and/or argument

to which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.

                                             The FHA

        161.    Paragraph 161 contains assertions of law, conclusory statements, and/or argument

to which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.

        162.    Paragraph 162 contains assertions of law, conclusory statements, and/or argument

to which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.

        163.    Paragraph 163 contains assertions of law, conclusory statements, and/or argument

to which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.




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       164.    Paragraph 164 contains assertions of law, conclusory statements, and/or argument

to which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.

       165.    Paragraph 165 contains assertions of law, conclusory statements, and/or argument

to which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.

       166.    Paragraph 166 contains assertions of law, conclusory statements, and/or argument

to which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.

                                            The CFPA

       167.    Paragraph 167 contains assertions of law, conclusory statements, and/or argument

to which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.

       168.    Paragraph 168 contains assertions of law, conclusory statements, and/or argument

to which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.

       169.    Paragraph 169 contains assertions of law, conclusory statements, and/or argument

to which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.

       170.    Paragraph 170 contains assertions of law, conclusory statements, and/or argument

to which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.




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       171.    Paragraph 171 contains assertions of law, conclusory statements, and/or argument

to which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.

       172.    Paragraph 172 contains assertions of law, conclusory statements, and/or argument

to which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.

       173.    Paragraph 173 contains assertions of law, conclusory statements, and/or argument

to which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.

       174.    Paragraph 174 contains assertions of law, conclusory statements, and/or argument

to which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.

       175.    Admitted only that Colony Ridge Development, Colony Ridge BV, and Colony

Ridge Land are owned by Colony Ridge, Inc. The remaining allegations in Paragraph 175 contain

assertions of law, conclusory statements, and/or argument to which no response is required. To the

extent that the remaining allegations in this Paragraph contain any factual allegations requiring a

response, Colony Ridge Defendants deny the remaining allegations in this Paragraph.

       176.     Paragraph 176 contains assertions of law, conclusory statements, and/or argument

to which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.

                             ILSA, Regulation J, and Regulation K




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       177.    Paragraph 177 contains assertions of law, conclusory statements, and/or argument

to which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.

       178.    Paragraph 178 contains assertions of law, conclusory statements, and/or argument

to which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.

       179.    Paragraph 179 contains assertions of law, conclusory statements, and/or argument

to which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.

       180.    Paragraph 180 contains assertions of law, conclusory statements, and/or argument

to which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.

       181.     Paragraph 181 contains assertions of law, conclusory statements, and/or argument

to which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.

       182.    Paragraph 182 contains assertions of law, conclusory statements, and/or argument

to which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.

       183.    Paragraph 183 contains assertions of law, conclusory statements, and/or argument

to which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.




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       184.    Paragraph 184 contains assertions of law, conclusory statements, and/or argument

to which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.

       185.    The allegations in Paragraph 185 contain assertions of law, conclusory statements,

and/or argument to which no response is required. To the extent that the remaining allegations in

this Paragraph contain any factual allegations requiring a response, Colony Ridge Defendants deny

the allegations in this Paragraph.

       186.    Admitted that Colony Ridge Development and Colony Ridge BV have used the

internet and telephone in connection with the sale of lots located within Colony Ridge

Development’s six residential subdivisions. The remaining allegations in Paragraph 186 contain

assertions of law, conclusory statements, and/or argument to which no response is required. To the

extent that the remaining allegations in this Paragraph contain any factual allegations requiring a

response, Colony Ridge Defendants deny the remaining allegations in this Paragraph.

                                            COUNT I

        Violation of ECOA and Regulation B: Pattern or Practice of Discrimination
                      (By the Consumer Financial Protection Bureau
                            And the United States of America)
                                (Against All Defendants)

       187.    Paragraph 187 does not require a response. In an abundance of caution, Colony

Ridge Defendants repeat and reaffirm their answers to each and every allegation contained in the

paragraphs above and incorporate the same herein as though fully set forth.

       188.     Paragraph 188 contains assertions of law, conclusory statements, and/or argument

to which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.




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       189.    Paragraph 189 contains assertions of law, conclusory statements, and/or argument

to which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.

       190.    Paragraph 190 contains assertions of law, conclusory statements, and/or argument

to which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.

       191.    Paragraph 191 contains assertions of law, conclusory statements, and/or argument

to which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.

                                            COUNT II

                                     Violation of the FHA
                               (By the United States of America)
                                   (Against All Defendants)

       192.    Paragraph 192 does not require a response. In an abundance of caution, Colony

Ridge Defendants repeat and reaffirm their answers to each and every allegation contained in the

paragraphs above and incorporate the same herein as though fully set forth.

       193.    Paragraph 193 contains assertions of law, conclusory statements, and/or argument

to which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.

       194.    Paragraph 194 contains assertions of law, conclusory statements, and/or argument

to which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.




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       195.    Paragraph 195 contains assertions of law, conclusory statements, and/or argument

to which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.

       196.    Paragraph 196 contains assertions of law, conclusory statements, and/or argument

to which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.

       197.    Paragraph 197 contains assertions of law, conclusory statements, and/or argument

to which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.

                                           COUNT III

                     Violation of the CFPA: Deceptive Acts or Practices
                      (By the Consumer Financial Protection Bureau)
                   (Against Colony Ridge Development, Colony Ridge BV,
                                   and Colony Ridge Land)

       198.    Paragraph 198 does not require a response. In an abundance of caution, Colony

Ridge Defendants repeat and reaffirm their answers to each and every allegation contained in the

paragraphs above and incorporate the same herein as though fully set forth.

       199.    Denied.

       200.    Denied.

       201.    Paragraph 201 contains assertions of law, conclusory statements, and/or argument

to which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.

                                           COUNT IV

                            Violation of ILSA and Regulation J:
              Unlawful Sale of Non-Exempt Lots Without Statement of Record
                     (By the Consumer Financial Protection Bureau)



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                 (Against Colony Ridge Development and Colony Ridge BV)

       202.    Paragraph 202 does not require a response. In an abundance of caution, Colony

Ridge Defendants repeat and reaffirm their answers to each and every allegation contained in the

paragraphs above and incorporate the same herein as though fully set forth.

       203.    Admitted.

       204.    Paragraph 204 contains assertions of law, conclusory statements, and/or argument

to which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.

                                            COUNT V

                            Violation of ILSA and Regulation J:
                Unlawful Sale of Non-Exempt Lots Without Property Reports
                      (By the Consumer Financial Protection Bureau)
                 (Against Colony Ridge Development and Colony Ridge BV)

       205.    Paragraph 205 does not require a response. In an abundance of caution, Colony

Ridge Defendants repeat and reaffirm their answers to each and every allegation contained in the

paragraphs above and incorporate the same herein as though fully set forth.

       206.    Paragraph 206 contains assertions of law, conclusory statements, and/or argument

to which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.

       207.    Paragraph 207 contains assertions of law, conclusory statements, and/or argument

to which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.

                                           COUNT VI

                                 Violation of Regulation K:
              Unlawful Sale of Lots by Using Notes, Contracts, Deeds, and Other
                   Documents Without an Accurate Translation Attached



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                      (By the Consumer Financial Protection Bureau)
                 (Against Colony Ridge Development and Colony Ridge BV)

       208.    Paragraph 208 does not require a response. In an abundance of caution, Colony

Ridge Defendants repeat and reaffirm their answers to each and every allegation contained in the

paragraphs above and incorporate the same herein as though fully set forth.

       209.    Admitted that Colony Ridge Development and Colony Ridge BV have marketed

lots in Spanish. Colony Ridge Defendants deny the remaining allegations in this Paragraph.

       210.    Admitted that Colony Ridge Development and Colony Ridge BV have conducted

sales of lots in Spanish. Colony Ridge Defendants deny the remaining allegations in this

Paragraph.

       211.    Denied.

       212.    Paragraph 212 contains assertions of law, conclusory statements, and/or argument

to which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.

                                           COUNT VII

                                Violation of Regulation K:
        Unlawful Sale of Lots by Representing Lots as Free from Periodic Flooding
                     (By the Consumer Financial Protection Bureau)
              (Against Colony Ridge Development and Colony Ridge BV)

       213.    Paragraph 213 does not require a response. In an abundance of caution, Colony

Ridge Defendants repeat and reaffirm their answers to each and every allegation contained in the

paragraphs above and incorporate the same herein as though fully set forth.

       214.    Denied.




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       215.    Admitted that some lots in the six residential subdivisions have been marketed as

lots on which customers can build personal homes. Colony Ridge Defendants deny the remaining

allegations in this paragraph.

       216.    Denied.

       217.    Paragraph 217 contains assertions of law, conclusory statements, and/or argument

to which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.

                                          COUNT VIII

                                   Violation of ILSA:
        Unlawful Sale of Lots by Representing Lots as Free from Periodic Flooding
                     (By the Consumer Financial Protection Bureau)
              (Against Colony Ridge Development and Colony Ridge BV)

       218.    Paragraph 218 does not require a response. In an abundance of caution, Colony

Ridge Defendants repeat and reaffirm their answers to each and every allegation contained in the

paragraphs above and incorporate the same herein as though fully set forth.

       219.    Denied.

       220.    Denied.

       221.    Denied.

       222.    Denied.

       223.    Denied.

       224.    Paragraph 224 contains assertions of law, conclusory statements, and/or argument

to which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.

                                           COUNT IX

        Violation of Regulation J: Failure to Timely File Annual Reports of Activity



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                      (By the Consumer Financial Protection Bureau)
                 (Against Colony Ridge Development and Colony Ridge BV)

       225.     Paragraph 225 does not require a response. In an abundance of caution, Colony

Ridge Defendants repeat and reaffirm their answers to each and every allegation contained in the

paragraphs above and incorporate the same herein as though fully set forth.

       226.    Admitted.

       227.    Paragraph 227 contains assertions of law, conclusory statements, and/or argument

to which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.

                                            COUNT X

                     Violation of the CFPA: Based on Violation of ECOA
                       (By the Consumer Financial Protection Bureau)
                                    (Against All Defendants)

       228.    Paragraph 228 does not require a response. In an abundance of caution, Colony

Ridge Defendants repeat and reaffirm their answers to each and every allegation contained in the

paragraphs above and incorporate the same herein as though fully set forth.

       229.    Paragraph 229 contains assertions of law, conclusory statements, and/or argument

to which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.

       230.    Paragraph 230 contains assertions of law, conclusory statements, and/or argument

to which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.

                                           COUNT XI

                    Violation of the CFPA: Based on Violation of ILSA
                      (By the Consumer Financial Protection Bureau)
                 (Against Colony Ridge Development and Colony Ridge BV)



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       231.    Paragraph 231 does not require a response. In an abundance of caution, Colony

Ridge Defendants repeat and reaffirm their answers to each and every allegation contained in the

paragraphs above and incorporate the same herein as though fully set forth.

       232.    Paragraph 232 contains assertions of law, conclusory statements, and/or argument

to which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.

       233.    Paragraph 233 contains assertions of law, conclusory statements, and/or argument

to which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Colony Ridge Defendants deny the allegations in this Paragraph.

                                     DEMAND FOR RELIEF

       Colony Ridge Defendants deny that Plaintiffs are entitled to any of the relief sought in their

Demand for Relief, including subparts (a)-(i) thereto.

                                         JURY DEMAND

       Colony Ridge Defendants hereby request a trial by jury pursuant to Rule 38 of the Federal

Rules of Civil Procedure on all issues so triable.

                                           DEFENSES

       Colony Ridge Defendants hereby assert the following defenses and affirmative defenses:

           1. Statute of limitations.

           2. Laches.

           3. Lack of fair notice.

           4. Lack of subject matter jurisdiction.




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    Dated: October 29, 2024.               Respectfully submitted.

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                                         Attorneys for Defendants Colony Ridge
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                                         and Colony Ridge Land, LLC




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                                CERTIFICATE OF SERVICE
       I hereby certify that I served a true and correct copy of this document on the below-listed
counsel of record, using the CM/ECF system on the 29th day of October, 2024.
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